            Case 1:23-cr-00184-RDM Document 77 Filed 07/08/24 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :    CRIMINAL NO.: 23-CR-184-RDM
                                                  :
               v.                                 :
                                                  :
 JARED L. WISE,                                   :
                                                  :
                     Defendant.                   :

 UNITED STATES’ UNOPPOSED MOTION TO CONTINUE STATUS CONFERENCE
       The United States of America, through its undersigned attorneys, hereby submits the

following unopposed request to reschedule the status conference scheduled for Wednesday, July

10 at 10:30 AM EST to July 11, 2024 at 11:00 AM EST. In support of the motion, the Government

states as follows:

       1.       The Defendant was charged, by criminal complaint on April 12, 2023, with four

misdemeanor offenses, ECF No. 1, and was arrested on May 1, 2023, ECF No. 5. On May 31,

2023, a grand jury returned an Indictment charging the defendant with the following six offenses:

1) Civil Disorder and Aiding and Abetting, in violation of 18 U.S.C. §§ 231(a)(3), 2; 2) Assaulting,

Resisting, or Impeding Certain Officers and Aiding and Abetting, in violation of 18 U.S.C.

§§ 111(a)(1), 2; 3) Entering and Remaining in a Restricted Building or Grounds, in violation of 18

U.S.C. § 1752(a)(1); 4) Disorderly and Disruptive Conduct in a Restricted Building or Grounds,

in violation of 18 U.S.C. § 1752(a)(2); 5) Disorderly Conduct in a Capitol Building or Grounds,

in violation of 40 U.S.C. § 5104(e)(2)(D); and 6) Parading, Demonstrating, and Picketing in a

Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G). See ECF No. 9.

       2.       On July 3, 2024, the Court scheduled a status conference for July 10, 2024 to

discuss the Defendant’s pending motion to continue trial and compel discovery. See Minute Entry

on July 3, 2024. The Government has a previously scheduled conflict on July 3, 2024.

                                                 1
            Case 1:23-cr-00184-RDM Document 77 Filed 07/08/24 Page 2 of 2




       3.       The parties met and conferred and determined that the parties and the Court are

available on July 11, 2024 at 11:00 AM EST. Pursuant to the Court’s instructions, the parties now

request to reschedule the status conference to July 11, 2024 at 11:00 AM EST via Zoom.

       For the forgoing reasons, the Government respectfully asks the Court to reschedule the

status conference to July 11, 2024 at 11:00 AM EST via Zoom.



                                            Respectfully submitted,

                                MATTHEW M. GRAVES
                                UNITED STATES ATTORNEY
                                D.C. Bar Number 481052


                          By:      /s/ Jason Manning
                                  Jason M. Manning
                                  NY Bar No. 4578068
                                  Trial Attorney, Detailee
                                  601 D Street NW
                                  Washington, D.C. 20530
                                  Phone: (202) 436-5364
                                  Email: Jason.Manning@usdoj.gov

                                   /s/ Taylor L. Fontan
                                  Taylor L. Fontan
                                  IN Bar No. 35690-53
                                  Trial Attorney
                                  601 D Street NW
                                  Washington, D.C. 20530
                                  Phone: (202) 815-8597
                                  Email: Taylor.Fontan@usdoj.gov




                                               2
